   Case 3:10-cr-00318-SCC       Document 81      Filed 04/11/11   Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                               CRIMINAL 10-0318CCC
 1) ARCADIO HERNANDEZ-SOTO
 2) WILLIAM RIVERA-GARCIA
 3) JOEL HERNANDEZ-HERNANDEZ
 4) ROLANDO NIEVES-VALENTIN
 5) NEFTALI VALENTIN-FRED
 Defendants

                                        ORDER

       Having considered the Report and Recommendation filed on March 31, 2011

(docket entry 80) on a Rule 11 proceeding of defendant William Rivera-García (2) held

before U.S. Magistrate Judge Camille L. Vélez-Rivé on March 29, 2011, to which no

opposition has been filed, the same is APPROVED. Accordingly, the plea of guilty of

defendant William Rivera-García is accepted. The Court FINDS that his plea was voluntary

and intelligently entered with awareness of his rights and the consequences of pleading

guilty and contains all elements of the offense charged in the indictment.

       This case was referred to the U.S. Probation Office for preparation of a Presentence

Investigation Report since March 29, 2011. The sentencing hearing is set for

June 30, 2011 at 4:15 PM.

       SO ORDERED.

       At San Juan, Puerto Rico, on April 11, 2011.


                                                S/CARMEN CONSUELO CEREZO
                                                United States District Judge
